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                       UNITEDSTATESDISTRICTCOURT
                       EASTERNDISTRICTOF MICHIGAN
                           SOUTHERN DIVISION


UNITEDSTATESOF AMERICA.

                  Plaintiff,
                                           HONORABLE
                                                   AVERNCOHN
     v.
                                           No,   03-80617
D-3ADHAMMACKIE,

                  Defendant.




             INDEXOF EXHIBITSTO SENTENCING
                                         MEMORANDUM

      ExhibitA.   Letterfrom SoniaMackie

      ExhibitB.   LetterfromAdhamMackie-smother

      ExhibitC.   Letterfrom Rafficand KathrynMackie

      ExhibitD.   Letterfrom the Mackiefamily

      ExhibitE.   LetterfromAli Dagher

      ExhibitF.   Letterfrom TallalTurfe

      ExhibitG.   Letterfrom Zeina,Rasha,and Wanda Mackie

      ExhibitH.   OtherReferenceLetters
